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                            EXHIBIT 11




                                                                  Appx. 00639
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                                                                                                                                          Claim #95 Date Filed: 4/8/2020

 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of   Texas
                                                                                         (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                               04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  Highland Capital Management Fund Advisors, L.P.
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               See summary page
   creditor be sent?
                                 Name                                                                            Name
    Federal Rule of
    Bankruptcy Procedure         Number          Street                                                          Number          Street
    (FRBP) 2002(g)
                                 City                                State                 ZIP Code              City                                State                  ZIP Code

                                 Contact phone       972-628-4100                                                Contact phone

                                 Contact email       bryan.assink@bondsellis.com                                 Contact email


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM     /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                                                                           page 1

                                                                                                                                                             Appx. 00640
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See attached Exhibit "A"                   . Does this amount include interest or other charges?
                                                                                 ✔ No
                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See attached Exhibit "A"


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                                                                page 2

                                                                                                                                      Appx. 00641
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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Frank George Waterhouse
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Frank George Waterhouse
                                                             First name                             Middle name                            Last name

                                  Title                      Authorized Agent
                                  Company                    Highland Capital Management Fund Advisors, L.P.
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.

                                                             300 Crescent Court, Ste. 700, Dallas, TX, 75201
                                  Address
                                                             Number              Street




                                  Contact phone
                                                             City

                                                             9726284100
                                                                                                                 ¨1¤}HV4$(         State

                                                                                                                                   Email
                                                                                                                                        (,«          ZIP Code

                                                                                                                                           fwaterhouse@highlandcapital.com
                                                                                                                   1934054200408000000000008



 Official Form 410                                                        Proof of Claim
                                                                                                                                                                    page 3

                                                                                                                                                         Appx. 00642
   Case 3:21-cv-00881-X Document 138-11 Filed 07/14/23                                    Page 5 of 19 PageID 9224
                                          KCC ePOC Electronic Claim Filing Summary
                                     For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
              19-34054 - Highland Capital Management, L.P.
       District:
               Northern District of Texas, Dallas Division
       Creditor:                                                        Has Supporting Documentation:
               Highland Capital Management Fund Advisors, L.P.                Yes, supporting documentation successfully uploaded

              300 Crescent Court, Ste. 700                              Related Document Statement:

                                                                        Has Related Claim:
              Dallas, TX, 75201
                                                                               No
              Phone:                                                    Related Claim Filed By:
              972-628-4100
              Phone 2:                                                  Filing Party:

              Fax:                                                             Authorized agent

              Email:
              bryan.assink@bondsellis.com
       Other Names Used with Debtor:                                    Amends Claim:
                                                                                No
                                                                        Acquired Claim:
                                                                                No
       Basis of Claim:                                                  Last 4 Digits:        Uniform Claim Identifier:
              See attached Exhibit "A"                                          No
       Total Amount of Claim:                                           Includes Interest or Charges:
              See attached Exhibit "A"                                          No
       Has Priority Claim:                                              Priority Under:
             No
       Has Secured Claim:                                               Nature of Secured Amount:
             No                                                         Value of Property:
       Amount of 503(b)(9):                                             Annual Interest Rate:
             No
       Based on Lease:                                                  Arrearage Amount:

              No                                                        Basis for Perfection:
       Subject to Right of Setoff:                                      Amount Unsecured:
              No
       Submitted By:
              Frank George Waterhouse on 08-Apr-2020 1:48:40 p.m. Eastern Time
       Title:
              Authorized Agent
       Company:
              Highland Capital Management Fund Advisors, L.P.
       Optional Signature Address:
             Frank George Waterhouse
              300 Crescent Court, Ste. 700

              Dallas, TX, 75201
              Telephone Number:
              9726284100
              Email:
              fwaterhouse@highlandcapital.com




VN: B504D3A6395DEC846A691C34933264F1
                                                                                                                Appx. 00643
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                                            Exhibit A

        Highland Capital Management Fund Advisors (“Claimant”) is the beneficiary of a Shared
Services Agreement with the Debtor. It has previously made payments for the Debtor and under
the Shared Services Agreement is entitled to reimbursement from the Debtor. Claimant has
requested information from the Debtor to ascertain the exact amount of its claim. This process is
on-going. Additionally, this process has been delayed due to the outbreak of the Coronavirus.
Claimant is continuing to work to ascertain the exact amount of its claim and will update its claim
in the next ninety days. A true and correct copy of the agreement is attached hereto.




                                                                                      Appx. 00644
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                               SECOND AMENDED AND RESTATED
                                SHARED SERVICES AGREEMENT

        THIS SECOND AMENDED AND RESTATED SHARED SERVICES AGREEMENT (this
“Agreement”) is entered into to be effective as of 8th day of February, 2013 (the “Effective Date”) by and
among Highland Capital Management, L.P., a Delaware limited partnership (“HCMLP”), and Highland
Capital Management Fund Advisors, L.P., formerly known as Pyxis Capital, L.P., a Delaware limited
partnership (“HCMFA”), and any affiliate of HCMFA that becomes a party hereto. Each of the
signatories hereto is individually a “Party” and collectively the “Parties”.

                                               RECITALS

        A.      During the Term, HCMLP will provide to HCMFA certain services as more fully
described herein and the Parties desire to allocate the costs incurred for such services and assets among
them in accordance with the terms and conditions in this Agreement.

                                             AGREEMENT

         In consideration of the foregoing recitals and the mutual covenants and conditions contained
herein, the Parties agree, intending to be legally bound, as follows:

                                              ARTICLE I
                                             DEFINITIONS

        “Actual Cost” means, with respect to any period hereunder, one hundred percent (100%) of the
actual costs and expenses caused by, incurred or otherwise arising from or relating to (i) the Shared
Services and (ii) the Shared Assets, in each case during such period.

        “Affiliate” means a Person that directly, or indirectly through one or more intermediaries,
controls, or is controlled by, or is under common control with, a specified Person. The term “control”
(including, with correlative meanings, the terms “controlled by” and “under common control with”)
means the possession of the power to direct the management and policies of the referenced Person,
whether through ownership interests, by contract or otherwise.

        “Agreement” has the meaning set forth in the preamble.

        “Allocation Percentage” has the meaning set forth in Section 4.01.

        “Applicable Margin” shall mean an additional amount equal to 5% of all costs allocated by
Service Provider to the other parties hereto under Article IV; provided that the parties may agree on a
different margin percentage as to any item or items to the extent the above margin percentage, together
with the allocated cost of such item or service, would not reflect an arm’s length value of the particular
service or item allocated.

        “Change” has the meaning set forth in Section 2.02(a).

        “Change Request” has the meaning set forth in Section 2.02(b).

        “Code” means the Internal Revenue Code of 1986, as amended, and the related regulations and
published interpretations.




                                                                                          Appx. 00645
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        “Effective Date” has the meaning set forth in the preamble.

       “Governmental Entity” means any government or any regulatory agency, bureau, board,
commission, court, department, official, political subdivision, tribunal or other instrumentality of any
government, whether federal, state or local, domestic or foreign.

         “Liabilities” means any cost, liability, indebtedness, obligation, co-obligation, commitment,
expense, claim, deficiency, guaranty or endorsement of or by any Person of any nature (whether direct or
indirect, known or unknown, absolute or contingent, liquidated or unliquidated, due or to become due,
accrued or unaccrued, matured or unmatured).

        “Loss” means any cost, damage, disbursement, expense, liability, loss, obligation, penalty or
settlement, including interest or other carrying costs, legal, accounting and other professional fees and
expenses incurred in the investigation, collection, prosecution and defense of claims and amounts paid in
settlement, that may be imposed on or otherwise incurred or suffered by the referenced Person; provided,
however, that the term “Loss” will not be deemed to include any special, exemplary or punitive damages,
except to the extent such damages are incurred as a result of third party claims.

        “New Shared Service” has the meaning set forth in Section 2.03.

        “Party” or “Parties” has the meaning set forth in the preamble.

      “Person” means an association, a corporation, an individual, a partnership, a limited liability
company, a trust or any other entity or organization, including a Governmental Entity.

        “Quarterly Report” has the meaning set forth in Section 5.01.

        “Recipient” means HCMFA and any of HCMFA’s direct or indirect Subsidiaries or managed
funds or accounts in their capacity as a recipient of the Shared Services and/or Shared Assets.

        “Service Provider” means any of HCMLP and its direct or indirect Subsidiaries in its capacity as
a provider of Shared Services or Shared Assets.

        “Service Standards” has the meaning set forth in Section 6.01.

        “Shared Assets” shall have the meaning set forth in Section 3.02.

        “Shared Services” shall have the meaning set forth in Section 2.01.

         “Subsidiary” means, with respect to any Person, any Person in which such Person has a direct or
indirect equity ownership interest in excess of 50%.

         “Tax” or “Taxes” means: (i) all state and local sales, use, value-added, gross receipts, foreign,
privilege, utility, infrastructure maintenance, property, federal excise and similar levies, duties and other
similar tax-like charges lawfully levied by a duly constituted taxing authority against or upon the Shared
Services and the Shared Assets; and (ii) tax-related surcharges or fees that are related to the Shared
Services and the Shared Assets identified and authorized by applicable tariffs.

        “Term” has the meaning set forth in Section 7.01.




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                                                                                             Appx. 00646
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                                             ARTICLE II
                                          SHARED SERVICES

        Section 2.01     Services. During the Term, Service Provider will provide Recipient with Shared
Services, including without limitation, all of the (i) finance and accounting services, (ii) human resources
services, (iii) marketing services, (iv) legal services, (v) corporate services, (vi) information technology
services, and (vii) operations services; each as requested by HCMFA and as described more fully on
Annex A attached hereto, the “Shared Services”), it being understood that personnel providing Shared
Services may be deemed to be employees of HCMFA to the extent necessary for purposes of the
Investment Advisers Act of 1940, as amended.

        Section 2.02    Changes to the Shared Services.

                (a)      During the Term, the Parties may agree to modify the terms and conditions of a
Service Provider’s performance of any Shared Service in order to reflect new procedures, processes or
other methods of providing such Shared Service, including modifying the applicable fees for such Shared
Service to reflect the then current fair market value of such service (a “Change”). The Parties will
negotiate in good faith the terms upon which a Service Provider would be willing to provide such New
Shared Service to Recipient.

                 (b)      The Party requesting a Change will deliver a description of the Change requested
(a “Change Request”) and no Party receiving a Change Request may unreasonably withhold, condition or
delay its consent to the proposed Change.

                 (c)      Notwithstanding any provision of this Agreement to the contrary, a Service
Provider may make: (i) Changes to the process of performing a particular Shared Service that do not
adversely affect the benefits to Recipient of Service Provider’s provision or quality of such Shared
Service in any material respect or increase Recipient’s cost for such Shared Service; (ii) emergency
Changes on a temporary and short-term basis; and/or (iii) Changes to a particular Shared Service in order
to comply with applicable law or regulatory requirements, in each case without obtaining the prior
consent of Recipient. A Service Provider will notify Recipient in writing of any such Change as follows:
in the case of clauses (i) and (iii) above, prior to the implementation of such Change, and, in the case of
clause (ii) above, as soon as reasonably practicable thereafter.

        Section 2.03   New Shared Services. The Parties may, from time to time during the Term of
this Agreement, negotiate in good faith for Shared Services not otherwise specifically listed in Section
2.01 (a “New Shared Service”). Any agreement between the Parties on the terms for a New Shared
Service must be in accordance with the provisions of Article IV and Article V hereof, will be deemed to
be an amendment to this Agreement and such New Shared Service will then be a “Shared Service” for all
purposes of this Agreement.

        Section 2.04   Subcontractors. Nothing in this Agreement will prevent Service Provider from,
with the consent of Recipient, using subcontractors, hired with due care, to perform all or any part of a
Shared Service hereunder. A Service Provider will remain fully responsible for the performance of its
obligations under this Agreement in accordance with its terms, including any obligations it performs
through subcontractors, and a Service Provider will be solely responsible for payments due to its
subcontractors.




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                                                                                            Appx. 00647
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                                              ARTICLE III
                                            SHARED ASSETS

         Section 3.01    Shared IP Rights. Each Service Provider hereby grants to Recipient a non-
exclusive right and license to use the intellectual property and other rights granted or licensed, directly or
indirectly, to such Service Provider (the “Shared IP Rights”) pursuant to third party intellectual property
Agreements (“Third Party IP Agreements”), provided that the rights granted to Recipient hereunder are
subject to the terms and conditions of the applicable Third Party IP Agreement, and that such rights shall
terminate, as applicable, upon the expiration or termination of the applicable Third Party IP Agreement.
Recipient shall be licensed to use the Shared IP Rights only for so long as it remains an Affiliate of
HCMLP. In consideration of the foregoing licenses, Recipient agrees to take such further reasonable
actions as a Service Provider deems to be necessary or desirable to comply with its obligations under the
Third Party IP Agreements.

        Section 3.02     Other Shared Assets. Subject to Section 3.01, each Service Provider hereby
grants Recipient the right, license or permission, as applicable, to use and access the benefits under the
agreements, contracts and licenses that such Service Provider will purchase, acquire, become a party or
beneficiary to or license on behalf of Recipient (the “Future Shared Assets” and collectively with the
Shared IP Rights, the “Shared Assets”).

                                              ARTICLE IV
                                           COST ALLOCATION

        Section 4.01   Actual Cost Allocation Formula. The Actual Cost of any item relating to any
Shared Services or Shared Assets shall be allocated based on the Allocation Percentage. For purposes of
this Agreement, “Allocation Percentage” means:

                (a)      To the extent 100% of such item is demonstrably attributable to HCMFA, 100%
of the Actual Cost of such item shall be allocated to HCMFA as agreed by HCMFA;

               (b)    To the extent a specific percentage of use of such item can be determined (e.g.,
70% for HCMLP and 30% for HCMFA), that specific percentage of the Actual Cost of such item will be
allocated to HCMLP or HCMFA, as applicable and as agreed by HCMFA; and

                (c)      All other portions of the Actual Cost of any item that cannot be allocated
pursuant to clause (a) or (b) above shall be allocated between HCMLP and HCMFA in such proportion as
is agreed in good faith between the parties.

        Section 4.02     Non-Cash Cost Allocation. The actual, fully burdened cost of any item relating
to any Shared Services or Shared Assets that does not result in a direct, out of pocket cash expense may
be allocated to HCMLP and HCMFA for financial statement purposes only, as agreed by HCMFA,
without any corresponding cash reimbursement required, in accordance with generally accepted
accounting principles, based on the Allocation Percentage principles described in Section 4.01 hereof.

                                        ARTICLE V
                        PAYMENT OF COST AND REVENUE SHARE; TAXES

        Section 5.01     Quarterly Statements. Within thirty (30) days following the end of each calendar
qaurter during the Term (or at such time as may be otherwise agreed by the parties), each Service
Provider shall furnish the other Parties hereto with a written statement with respect to the Actual Cost
paid by it in respect of Shared Services and Shared Assets provided by it, in each case, during such


                                                      4




                                                                                              Appx. 00648
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period, setting forth (i) the cost allocation in accordance with Article IV hereof together with the
Applicable Margin on such allocated amounts, and (ii) any amounts paid pursuant to Section 5.02 hereof,
together with such other data and information necessary to complete the items described in Section 5.03
hereof (hereinafter referred to as the “Quarterly Report”).

         Section 5.02    Settlement Payments. At any time during the Term, any Party may make
payment of the amounts that are allocable to such Party together with the Applicable Margin related
thereto, regardless of whether an invoice pursuant to Section 5.03 hereof has been issued with respect to
such amounts.

        Section 5.03    Determination and Payment of Cost and Revenue Share.

                 (a)     Within ten (10) days of the submission of the Quarterly Report described in
Section 5.02 hereof (or at such other time as may be agreed by the parties), the Parties shall (i) agree on
the cost share of each of the Parties and Applicable Margin as calculated pursuant to the provisions of this
Agreement; and (ii) prepare and issue invoices for the cost share and Applicable Margin payments that
are payable by any of the Parties.

                 (b)     Within ten (10) days of preparation of the agreement and the issuance of the
invoice described in Section 5.03(a) (or at such other time as may be agreed by the parties), the Parties
shall promptly make payment of the amounts that are set forth on such cost allocation invoice.
Notwithstanding anything in this Agreement to the contrary, provision of the Shared Services shall
commence from the Effective Date, but no fees shall be payable from Recipient or otherwise accrue with
respect to such services provided during the month of December 2011.

        Section 5.04    Taxes.

                 (a)     Recipient is responsible for and will pay all Taxes applicable to the Shared
Services and the Shared Assets provided to Recipient, provided, that such payments by Recipient to
Service Provider will be made in the most tax-efficient manner and provided further, that Service
Provider will not be subject to any liability for Taxes applicable to the Shared Services and the Shared
Assets as a result of such payment by Recipient. Service Provider will collect such Tax from Recipient in
the same manner it collects such Taxes from other customers in the ordinary course of Service Provider’s
business, but in no event prior to the time it invoices Recipient for the Shared Services and Shared Assets,
costs for which such Taxes are levied. Recipient may provide Service Provider with a certificate
evidencing its exemption from payment of or liability for such Taxes.

                 (b)    Service Provider will reimburse Recipient for any Taxes collected from Recipient
and refunded to Service Provider. In the event a Tax is assessed against Service Provider that is solely the
responsibility of Recipient and Recipient desires to protest such assessment, Recipient will submit to
Service Provider a statement of the issues and arguments requesting that Service Provider grant Recipient
the authority to prosecute the protest in Service Provider’s name. Service Provider’s authorization will
not be unreasonably withheld. Recipient will finance, manage, control and determine the strategy for
such protest while keeping Service Provider reasonably informed of the proceedings. However, the
authorization will be periodically reviewed by Service Provider to determine any adverse impact on
Service Provider, and Service Provider will have the right to reasonably withdraw such authority at any
time. Upon notice by Service Provider that it is so withdrawing such authority, Recipient will
expeditiously terminate all proceedings. Any adverse consequences suffered by Recipient as a result of
the withdrawal will be submitted to arbitration pursuant to Section 9.14. Any contest for Taxes brought
by Recipient may not result in any lien attaching to any property or rights of Service Provider or
otherwise jeopardize Service Provider’s interests or rights in any of its property. Recipient agrees to


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                                                                                            Appx. 00649
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indemnify Service Provider for all Losses that Service Provider incurs as a result of any such contest by
Recipient.

                  (c)     The provisions of this Section 5.04 will govern the treatment of all Taxes arising
as a result of or in connection with this Agreement notwithstanding any other Article of this Agreement to
the contrary.

                                         ARTICLE VI
                              SERVICE PROVIDER RESPONSIBILITIES

        Section 6.01    Service Provider General Obligations. Service Provider will provide the Shared
Services and the Shared Assets to Recipient on a non-discriminatory basis and will provide the Shared
Services and the Shared Assets in the same manner as if it were providing such services and assets on its
own account (the “Service Standards”). Service Provider will conduct its duties hereunder in a lawful
manner in compliance with applicable laws, statutes, rules and regulations and in accordance with the
Service Standards, including, for avoidance of doubt, laws and regulations relating to privacy of customer
information.

         Section 6.02    Books and Records; Access to Information. Service Provider will keep and
maintain books and records on behalf of Recipient in accordance with past practices and internal control
procedures. Recipient will have the right, at any time and from time to time upon reasonable prior notice
to Service Provider, to inspect and copy (at its expense) during normal business hours at the offices of
Service Provider the books and records relating to the Shared Services and Shared Assets, with respect to
Service Provider’s performance of its obligations hereunder. This inspection right will include the ability
of Recipient’s financial auditors to review such books and records in the ordinary course of performing
standard financial auditing services for Recipient (but subject to Service Provider imposing reasonable
access restrictions to Service Provider’s and its Affiliates’ proprietary information and such financial
auditors executing appropriate confidentiality agreements reasonably acceptable to Service Provider).
Service Provider will promptly respond to any reasonable requests for information or access. For the
avoidance of doubt, all books and records kept and maintained by Service Provider on behalf of Recipient
shall be the property of Recipient, and Service Provider will surrender promptly to Recipient any of such
books or records upon Recipient’s request (provided that Service Provider may retain a copy of such
books or records) and shall make all such books and records available for inspection and use by the
Securities and Exchange Commission or any person retained by Recipient at all reasonable times. Such
records shall be maintained by Service Provider for the periods and in the places required by laws and
regulations applicable to Recipient.

        Section 6.03  Return of Property and Equipment. Upon expiration or termination of this
Agreement, Service Provider will be obligated to return to Recipient, as soon as is reasonably practicable,
any equipment or other property or materials of Recipient that is in Service Provider’s control or
possession.

                                           ARTICLE VII
                                      TERM AND TERMINATION

        Section 7.01      Term. The term of this Agreement will commence as of the Effective Date and
will continue in full force and effect until the first anniversary of the Effective Date (the “Term”), unless
terminated earlier in accordance with Section 9.02. The Term shall automatically renew for successive
one year periods unless sooner terminated under Section 7.02.




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        Section 7.02    Termination. Either Party may terminate this Agreement, with or without cause,
upon at least 60 days advance written notice at any time prior to the expiration of the Term.

                                            ARTICLE VIII
                                         LIMITED WARRANTY

         Section 8.01    Limited Warranty. Service Provider will perform the Shared Services hereunder
in accordance with the Service Standards. Except as specifically provided in this Agreement, Service
Provider makes no express or implied representations, warranties or guarantees relating to its performance
of the Shared Services and the granting of the Shared Assets under this Agreement, including any
warranty of merchantability, fitness, quality, non-infringement of third party rights, suitability or
adequacy of the Shared Services and the Shared Assets for any purpose or use or purpose. Service
Provider will (to the extent possible and subject to Service Provider’s contractual obligations) pass
through the benefits of any express warranties received from third parties relating to any Shared Service
and Shared Asset, and will (at Recipient’s expense) assist Recipient with any warranty claims related
thereto.

                                         ARTICLE IX
                                       MISCELLANEOUS

         Section 9.01    No Partnership or Joint Venture; Independent Contractor. Nothing contained in
this Agreement will constitute or be construed to be or create a partnership or joint venture between or
among HCMLP or HCMFA or their respective successors or assigns. The Parties understand and agree
that, with the exception of the procurement by Service Provider of licenses or other rights on behalf of
Recipient pursuant to Section 3.01, this Agreement does not make any of them an agent or legal
representative of the other for any purpose whatsoever. With the exception of the procurement by Service
Provider of licenses or other rights on behalf of Recipient pursuant to Section 3.01, no Party is granted, by
this Agreement or otherwise, any right or authority to assume or create any obligation or responsibilities,
express or implied, on behalf of or in the name of any other Party, or to bind any other Party in any
manner whatsoever. The Parties expressly acknowledge that Service Provider is an independent
contractor with respect to Recipient in all respects, including with respect to the provision of the Shared
Services.

        Section 9.02     Amendments; Waivers. Except as expressly provided herein, this Agreement
may be amended only by agreement in writing of all Parties. No waiver of any provision nor consent to
any exception to the terms of this Agreement or any agreement contemplated hereby will be effective
unless in writing and signed by all of the Parties affected and then only to the specific purpose, extent and
instance so provided. No failure on the part of any Party to exercise or delay in exercising any right
hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any further or
other exercise of such or any other right.

        Section 9.03    Schedules and Exhibits; Integration. Each Schedule and Exhibit delivered
pursuant to the terms of this Agreement must be in writing and will constitute a part of this Agreement,
although schedules need not be attached to each copy of this Agreement. This Agreement, together with
such Schedules and Exhibits constitutes the entire agreement among the Parties pertaining to the subject
matter hereof and supersedes all prior agreements and understandings of the Parties in connection
therewith.

       Section 9.04     Further Assurances. Each Party will take such actions as any other Party may
reasonably request or as may be necessary or appropriate to consummate or implement the transactions
contemplated by this Agreement or to evidence such events or matters.


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        Section 9.05   Governing Law. This Agreement and the legal relations between the Parties will
be governed by and construed in accordance with the laws of the State of Texas applicable to contracts
made and performed in such State and without regard to conflicts of law doctrines unless certain matters
are preempted by federal law.

        Section 9.06     Assignment. Except as otherwise provided hereunder, neither this Agreement
nor any rights or obligations hereunder are assignable by one Party without the express prior written
consent of the other Parties.

        Section 9.07    Headings. The descriptive headings of the Articles, Sections and subsections of
this Agreement are for convenience only and do not constitute a part of this Agreement.

         Section 9.08    Counterparts. This Agreement and any amendment hereto or any other
agreement delivered pursuant hereto may be executed in one or more counterparts and by different Parties
in separate counterparts. All counterparts will constitute one and the same agreement and will become
effective when one or more counterparts have been signed by each Party and delivered to the other
Parties.

         Section 9.09    Successors and Assigns; No Third Party Beneficiaries. This Agreement is
binding upon and will inure to the benefit of each Party and its successors or assigns, and nothing in this
Agreement, express or implied, is intended to confer upon any other Person or Governmental Entity any
rights or remedies of any nature whatsoever under or by reason of this Agreement.

        Section 9.10     Notices. All notices, demands and other communications to be given or
delivered under or by reason of the provisions of this Agreement will be in writing and will be deemed to
have been given: (i)immediately when personally delivered; (ii) when received by first class mail, return
receipt requested; (iii) one day after being sent for overnight delivery by Federal Express or other
overnight delivery service; or (iv) when receipt is acknowledged, either electronically or otherwise, if sent
by facsimile, telecopy or other electronic transmission device. Notices, demands and communications to
the other Parties will, unless another address is specified by such Parties in writing, be sent to the
addresses indicated below:

                         If to HCMLP, addressed to:

                         Highland Capital Management, L.P.
                         300 Crescent Court, Suite 700
                         Dallas, Texas 75201
                         Attention: General Counsel
                         Fax: (972) 628-4147

                         If to HCMFA, addressed to:

                         Highland Capital Management Fund Advisors, L.P.
                         300 Crescent Court, Suite 700
                         Dallas, Texas 75201
                         Attention: General Counsel
                         Fax: (972) 628-4147

        Section 9.11    Expenses. Except as otherwise provided herein, the Parties will each pay their
own expenses incident to the negotiation, preparation and performance of this Agreement, including the
fees, expenses and disbursements of their respective investment bankers, accountants and counsel.


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         Section 9.12     Waiver. No failure on the part of any Party to exercise or delay in exercising any
right hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any
further or other exercise of such or any other right.

        Section 9.13     Severability. If any provision of this Agreement is held to be unenforceable for
any reason, it will be adjusted rather than voided, if possible, to achieve the intent of the Parties. All
other provisions of this Agreement will be deemed valid and enforceable to the extent possible.

         Section 9.14     Arbitration; Jurisdiction. Notwithstanding anything contained in this Agreement
or the Annexes hereto to the contrary, in the event there is an unresolved legal dispute between the parties
and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
however, that either party or such applicable affiliate thereof may pursue a temporary restraining order
and/or preliminary injunctive relief in connection with confidentiality covenants or agreements binding
on the other party, with related expedited discovery for the parties, in a court of law, and, thereafter,
require arbitration of all issues of final relief. The Arbitration will be conducted by the American
Arbitration Association, or another, mutually agreeable arbitration service. The arbitrator(s) shall be duly
licensed to practice law in the State of Texas. The discovery process shall be limited to the following:
Each side shall be permitted no more than (i) two party depositions of six hours each. Each deposition is
to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii)
twenty-five interrogatories; (iv) twenty-five requests for admission; (v) ten requests for production. In
response, the producing party shall not be obligated to produce in excess of 5,000 total pages of
documents. The total pages of documents shall include electronic documents; (vi) one request for
disclosure pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in
this paragraph, whether to parties or non-parties, shall not be permitted. The arbitrator(s) shall be
required to state in a written opinion all facts and conclusions of law relied upon to support any decision
rendered. No arbitrator will have authority to render a decision that contains an outcome determinative
error of state or federal law, or to fashion a cause of action or remedy not otherwise provided for under
applicable state or federal law. Any dispute over whether the arbitrator(s) has failed to comply with the
foregoing will be resolved by summary judgment in a court of law. In all other respects, the arbitration
process will be conducted in accordance with the American Arbitration Association’s dispute resolution
rules or other mutually agreeable, arbitration service rules. The party initiating arbitration shall pay all
arbitration costs and arbitrator’s fees, subject to a final arbitration award on who should bear costs and
fees. All proceedings shall be conducted in Dallas, Texas, or another mutually agreeable site. Each party
shall bear its own attorneys fees, costs and expenses, including any costs of experts, witnesses and/or
travel, subject to a final arbitration award on who should bear costs and fees. The duty to arbitrate
described above shall survive the termination of this Agreement. Except as otherwise provided above, the
parties hereby waive trial in a court of law or by jury. All other rights, remedies, statutes of limitation and
defenses applicable to claims asserted in a court of law will apply in the arbitration.

        Section 9.15     General Rules of Construction. For all purposes of this Agreement and the
Exhibits and Schedules delivered pursuant to this Agreement: (i) the terms defined in Article I have the
meanings assigned to them in Article I and include the plural as well as the singular; (ii) all accounting
terms not otherwise defined herein have the meanings assigned under GAAP; (iii) all references in this
Agreement to designated “Articles,” “Sections” and other subdivisions are to the designated Articles,
Sections and other subdivisions of the body of this Agreement; (iv) pronouns of either gender or neuter
will include, as appropriate, the other pronoun forms; (v) the words “herein,”“hereof” and “hereunder”
and other words of similar import refer to this Agreement as a whole and not to any particular Article,
Section or other subdivision; (vi) “or” is not exclusive; (vii) “including” and “includes” will be deemed to
be followed by “but not limited to” and “but is not limited to, “respectively; (viii) any definition of or

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                                                                                              Appx. 00653
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reference to any law, agreement, instrument or other document herein will be construed as referring to
such law, agreement, instrument or other document as from time to time amended, supplemented or
otherwise modified; and (ix) any definition of or reference to any statute will be construed as referring
also to any rules and regulations promulgated thereunder.




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                                                       Annex A

                                                 Shared Services

             Compliance
                           General compliance
                           Compliance systems
             Facilities
                           Equipment
                           General Overhead
                           Office Supplies
                           Rent & Parking
             Finance & Accounting
                          Book keeping
                           Cash management
                           Cash forecasting
                           Credit facility reporting
                           Financial reporting
                           Accounts payable
                           Accounts receivable
                           Expense reimbursement
                           Vendor management
             HR
                           Drinks/snacks
                           Lunches
                           Recruiting
             IT
                           General support & maintenance (OMS, development, support)
                           Telecom (cell, phones, broadband)
                           WSO
             Legal
                           Corporate secretarial services
                           Document review and preparation
                           Litigation support
                           Management of outside counsel
             Marketing and PR
                           Public relations
             Tax
                           Tax audit support
                           Tax planning
                           Tax prep and filing
             Investments
                           Investment research on an ad hoc basis as requested by HCMFA




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                                    Valuation Committee
                       Trading
                                    Trading desk services
                       Operations
                                    Trade settlement




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